 Case 19-10583-mdc             Doc 17-2 Filed 04/11/19 Entered 04/11/19 10:56:59                    Desc
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                                 UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF PENNSYLVANIA
                                      PHILADELPHIA DIVISION

In Re:
                                                                      13
         Pedro Melendez
                                                                      Bky No. 19-10583-MDC
                          Debtor(s).



                                                 ORDER

        AND NOW,            this _________ day of ___________________, 2019, upon consideration of
APPLICATION OF DEBTOR(S) COUNSEL FOR APPROVAL OF COUNSEL FEES submitted by Jensen
Bagnato, P.C., counsel for debtor(s) and after notice it is hereby

        ORDERED that counsel fees in the amount $4,000.00 less $635.00 already paid with a remaining balance
of $3,365.00 are allowed and maybe paid by the trustee to the extent provided in the confirmed plan. See
11USC§(330)(4)(B)




                                                 BY THE COURT:


                                                 ________________________________________
                                                 Hon. Magdeline D. Coleman
                                                 U.S. BANKRUPTCY JUDGE



CC:      Jensen Bagnato, P.C.
         ERIK B. JENSEN, ESQUIRE
         1500 Walnut Street
         Suite 1920
         Philadelphia, PA 19102

         William C. Miller, Esquire
         Chapter 13 Trustee
         Post Office Box 40119
         Philadelphia, PA 19106
